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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION


STEVES AND SONS, INC.,                   )
                                         )
                  Plaintiff,             )
                                         )
     v.                                  )    Civil Action No. 3:16-CV-00545-REP
                                         )
JELD-WEN, INC.,                          )
                                         )
                  Defendant.             )
                                         )


DEFENDANT JELD-WEN, INC.’S AMENDED ANSWER TO PLAINTIFF STEVES AND
  SONS, INC.’S COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF,
DAMAGES, AND SPECIFIC PERFORMANCE AND JELD-WEN’S COUNTERCLAIMS

                        REDACTED VERSION FILED PUBLICLY
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       Defendant JELD-WEN, Inc. (“JELD-WEN”), by and through its undersigned counsel,

answers Plaintiff Steves and Sons, Inc.’s (“Steves”) Complaint filed on June 29, 2016

(“Complaint”) (ECF No. 5), as follows:

                                             ANSWER

       The “preamble” to the Complaint is conclusory and contains speculation and legal

conjecture. To the extent that a response is required, JELD-WEN admits that Steves states that

this is an action raising claims based in antitrust, contract, breach of warranty, and tort.

       JELD-WEN admits that it manufactures and sells, among other products, interior molded

door skins, as well as finished doors. JELD-WEN also admits that Steves has purchased door

skins from JELD-WEN. JELD-WEN is without information sufficient to form a belief as to the

truth of the remaining allegations contained in the second paragraph of the preamble to the

Complaint.

       JELD-WEN admits that in June 2012, it announced an acquisition of a manufacturer of

doors and door skins. JELD-WEN admits that in May 2012, JELD-WEN and Steves entered

into a long-term door skin supply agreement. The assertions in the third paragraph of the

preamble to the Complaint that the sale of door skins and doors constitute “markets” are legal

conclusions as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “door skins” and “doors” constitute relevant markets for

antitrust purposes. JELD-WEN denies the remaining allegations contained in the third paragraph

of the preamble to the Complaint.

       JELD-WEN admits that Steves purports to seek in this Complaint an injunction requiring

JELD-WEN to divest assets, as well as monetary damages, declaratory relief, and specific

performance.    JELD-WEN denies that JELD-WEN has damaged Steves and that Steves is

entitled to any damages. The assertions in the fourth paragraph of the preamble to the Complaint
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that the sale of door skins and doors constitute “markets” are legal conclusions as to which no

response is required. However, to the extent that a response is required, JELD-WEN denies that

“door skins” and “doors” constitute relevant markets for antitrust purposes.

       1. Denies.

       2. Denies.

       3. Denies.

       4. JELD-WEN admits that Steves has over time manufactured and supplied doors.

JELD-WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 4 and, on that basis, denies them.

       5. JELD-WEN admits that molded door skins are facings that are typically molded from

synthetic materials. JELD-WEN further admits that two door skins may be put together over a

wooden frame to make a hollow core or solid door. JELD-WEN admits that Steves asserts that

flush door skins are not part of this lawsuit. JELD-WEN is without information sufficient to

form a belief as to the truth of the remaining allegations contained in Paragraph 5 and, on that

basis, denies them.

       6. JELD-WEN admits that production of door skins requires manufacturing facilities and

may require certain capital investments. JELD-WEN denies that those factors constitute high

barriers to a company’s ability to enter the business of manufacturing door skins. The assertion

in Paragraph 6 that the sale of door skins constitutes a “market” is a legal conclusion to which no

response is required. However, to the extent that a response is required, JELD-WEN denies that

“door skins” constitute a relevant market for antitrust purposes.         JELD-WEN is without

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 6 and, on that basis, denies them.



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       7. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegation contained in Paragraph 7 and, on that basis, denies it.

       8. JELD-WEN admits that prior to 2012, JELD-WEN, Masonite, and CraftMaster sold

door skins in the United States. JELD-WEN is without information sufficient to form a belief as

to the truth of the remaining allegations contained in Paragraph 8 and, on that basis, denies them.

       9. JELD-WEN admits that it manufactures both door skins and finished doors. JELD-

WEN also admits that certain customers to whom JELD-WEN sells door skins also sell finished

doors. JELD-WEN denies the allegations in the third and fourth sentences of Paragraph 9. The

assertions in Paragraph 9 that the sale of door skins and doors constitute “markets” are legal

conclusions as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “door skins” and “doors” constitute relevant markets for

antitrust purposes. JELD-WEN is without information sufficient to form a belief as to the truth

of the remaining allegations contained in Paragraph 9 and, on that basis, denies them.

       10. JELD-WEN admits that as of May 2012, CraftMaster sold both door skins and

finished doors. JELD-WEN also admits that CraftMaster owned a door skin manufacturing plant

in Towanda, Pennsylvania. JELD-WEN is without information sufficient to form a belief as to

the truth of the remaining allegations contained in Paragraph 10 and, on that basis, denies them.

       11. JELD-WEN admits that in 2002, it sold both door skins and finished doors. JELD-

WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 11 and, on that basis, denies them.

       12. JELD-WEN admits that Paragraph 12 purports to quote from a Department of Justice

Competitive Impact Statement, a written document the contents of which speak for themselves.

To the extent that Paragraph 12 characterizes or contradicts the contents of that Competitive



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Impact Statement, JELD-WEN denies those allegations. JELD-WEN is without information

sufficient to form a belief as to the truth of the remaining allegations contained in Paragraph 12

and, on that basis, denies them.

       13. JELD-WEN admits that in 2012, it acquired CraftMaster and its Towanda plant that

Masonite had owned until the 2001-2002 divestiture. The assertions in Paragraph 13 that the

sale of door skins and doors constitute “markets” are legal conclusions as to which no response is

required. However, to the extent that a response is required, JELD-WEN denies that “door

skins” and “doors” constitute relevant markets for antitrust purposes. JELD-WEN is without

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 13 and, on that basis, denies them.

       14. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 14 and, on that basis, denies them.

       15. JELD-WEN admits that it began negotiating a new supply agreement with Steves in

2011. JELD-WEN is without information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 15 and, on that basis, denies them.

       16. JELD-WEN admits that it was aware that Steves was in discussions with other door

skin manufacturers. JELD-WEN is without information sufficient to form a belief as to the truth

of the allegations contained in Paragraph 16 and, on that basis, denies them.

       17. JELD-WEN admits that it entered into a new supply agreement with Steves on May

1, 2012 that was substantially similar to the supply agreement that the parties had in place since

2003, and that a copy of that agreement is attached to this Complaint as Exhibit A (“Supply

Agreement”) (ECF No. 5-1). The remainder of Paragraph 17 purports to describe the Supply

Agreement, a written document the contents of which speak for themselves. To the extent



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Paragraph 17 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       18. JELD-WEN admits that it announced its deal with CraftMaster on June 18, 2012, and

that, prior to that date, JELD-WEN along with others (including Steves), had been engaged in a

bidding process for CraftMaster. JELD-WEN denies the remaining allegation contained in

Paragraph 18.

       19. JELD-WEN admits that the CraftMaster acquisition closed on October 24, 2012.

The assertions in Paragraph 19 that the sale of door skins and doors constitute “markets” are

legal conclusions as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “door skins” and “doors” constitute relevant markets for

antitrust purposes. JELD-WEN admits that after the acquisition it and Masonite continued to sell

doors and that both continued to manufacture door skins. JELD-WEN is without information

sufficient to form a belief as to the truth of the remaining allegations contained in Paragraph 19

and, on that basis, denies them.

       20. Denies.

       21. JELD-WEN admits that the Supply Agreement entered into prior to the 2012 merger



                     . JELD-WEN denies the remaining allegations contained in Paragraph 21.

       22. Denies.

       23. JELD-WEN admits that Masonite announced at some point in 2014 that it would

cease selling door skins to “competition.”      JELD-WEN admits that the third sentence in

Paragraph 23 purports to describe a communication between JELD-WEN and Steves, a written

document the contents of which speak for themselves. To the extent Paragraph 23 characterizes



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or contradicts the contents of that communication, JELD-WEN denies those allegations. The

assertion in Paragraph 23 that the sale of door skins constitutes a “market” is a legal conclusion

as to which no response is required. However, to the extent that a response is required, JELD-

WEN denies that “door skins” constitute a relevant market for antitrust purposes. JELD-WEN

denies the remaining allegations contained in Paragraph 23.

       24. JELD-WEN admits that it has given Steves



                                                     . JELD-WEN is without information sufficient

to form a belief as to the truth of the allegations in the last sentence of Paragraph 24 regarding

Steves’ costs and profits and, on that basis, denies them. JELD-WEN denies the remaining

allegations contained in Paragraph 24.

       25. JELD-WEN admits that both before the CraftMaster acquisition and after it, JELD-

WEN sold door skins to independent door manufacturers with which it competed at times and in

certain areas of the world for certain door business. Paragraph 25 asserts legal conclusions that

do not require a response. To the extent that a response is required, JELD-WEN denies those

allegations. The assertions in Paragraph 25 that the sale of doors constitutes a “market” is a legal

conclusion as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “doors” constitute a relevant market for antitrust purposes.

JELD-WEN denies the remaining allegations contained in Paragraph 25.

       26. JELD-WEN admits that, in the Complaint, Steves purports to seek injunctive relief,

damages, declaratory relief, specific performance, and compensatory damages. JELD-WEN

denies that Steves is entitled to any of that relief. The assertions in Paragraph 26 that the sale of

door skins and doors constitute “markets” are legal conclusions as to which no response is



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required. However, to the extent that a response is required, JELD-WEN denies that “door

skins” and “doors” constitute relevant markets for antitrust purposes.

       27. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 27 and, on that basis, denies them.

       28. JELD-WEN admits that Steves owns a door manufacturing plant in Henrico County,

Virginia and that Steves purchases door skins from JELD-WEN for delivery to that plant. JELD-

WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 28 and, on that basis, denies them.

       29. JELD-WEN admits that Steves owns door manufacturing plants in San Antonio,

Texas and Lebanon, Tennessee and that Steves purchases door skins from JELD-WEN for use in

those plants. JELD-WEN is without information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 29 and, on that basis, denies them.

       30. JELD-WEN admits the allegations in the first and second sentences of Paragraph 30.

The remainder of Paragraph 30 asserts a legal conclusion that does not require a response.

       31. Admits.

       32.   JELD-WEN admits that it engages in activities involving interstate commerce.

JELD-WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in the first sentence of Paragraph 32 and, on that basis, denies them.

JELD-WEN denies the allegations in the second sentence of Paragraph 32.

       33. Paragraph 33 asserts legal conclusions that do not require a response.

       34. Paragraph 34 asserts legal conclusions that do not require a response.

       35. Paragraph 35 asserts legal conclusions that do not require a response.

       36. Paragraph 36 asserts legal conclusions that do not require a response.



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       37. Admits.

       38. Admits.

       39. Admits.

       40. Admits.

       41. Admits.

       42. JELD-WEN admits that as of September 30, 2000, it manufactured both interior door

skins and interior molded doors. JELD-WEN admits that Premdor sold, among other things,

doors and door skins at that time. JELD-WEN admits that Masonite sold, among other things,

door skins at that time. The assertion in Paragraph 42 that the sale of door skins constitutes a

“market” is a legal conclusion as to which no response is required. However, to the extent that a

response is required, JELD-WEN denies that “door skins” constitute a relevant market for

antitrust purposes. JELD-WEN is without information sufficient to form a belief as to the truth

of the remaining allegations contained in Paragraph 42 and, on that basis, denies them.

       43. Paragraph 43 contains legal conjecture and hypothetical speculation. Because it

contains no factual allegations, no response is required.

       44. Paragraph 44 contains legal conjecture and hypothetical speculation. Because it

contains no factual allegations, no response is required.

       45. Admits.

       46. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegation in Paragraph 46 and, on that basis, denies it.

       47. JELD-WEN admits that Paragraph 47 purports to refer to statements that the United

States made in a complaint, a written document the contents of which speak for themselves. To




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the extent Paragraph 47 characterizes or contradicts the contents of those statements in the

complaint, JELD-WEN denies those allegations.

       48. Admits.

       49. Admits.

       50. JELD-WEN admits that Steves has regularly purchased door skins from JELD-WEN

over the years. JELD-WEN is without information sufficient to form a belief as to the truth of

the remaining allegations contained in Paragraph 50 and, on that basis, denies them.

       51. JELD-WEN admits the allegations in Paragraph 51, except that JELD-WEN is

without information sufficient to form a belief as to the truth of the allegation in Paragraph 51

that, as of 2009, Steves purchased “substantial quantities of door skins from other

manufacturers” and, on that basis, denies it.

       52.   JELD-WEN admits that it negotiated at some point with Steves on a supply

agreement. JELD-WEN is without information sufficient to form a belief as to the truth of the

remaining allegations contained in Paragraph 52 and, on that basis, denies them.

       53. Admits.

       54. JELD-WEN admits that Paragraph 54 purports to quote from the Supply Agreement

between JELD-WEN and Steves, a written document the contents of which speak for

themselves. To the extent Paragraph 54 characterizes or contradicts the contents of that Supply

Agreement, JELD-WEN denies those allegations.

       55. JELD-WEN admits that Paragraph 55 purports to quote from the Supply Agreement

between JELD-WEN and Steves, a written document the contents of which speak for

themselves. To the extent Paragraph 55 characterizes or contradicts the contents of that Supply

Agreement, JELD-WEN denies those allegations.



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       56. Denies.

       57. Admits.

       58. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 58 and, on that basis, denies them.

       59. JELD-WEN denies that it has breached the Supply Agreement. JELD-WEN is

without information sufficient to form a belief as to the truth of the remaining allegations

contained in Paragraph 59 and, on that basis, denies them.

       60. JELD-WEN admits that the Department of Justice reviewed its proposed acquisition

of CraftMaster and did not seek to enjoin it. The remaining allegations contained in Paragraph

60 relate to communications with the Department of Justice that are considered confidential

under, inter alia, Section 7A(h) of the Clayton Act, 15 U.S.C. § 18a(h).

       61. JELD-WEN admits that its acquisition of CraftMaster closed on or about October 24,

2012, and that as part of that acquisition it acquired CraftMaster’s plant in Towanda,

Pennsylvania. The assertion in Paragraph 61 that the sale of door skins constitutes a “market” is

a legal conclusion as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “door skins” constitute a relevant market for antitrust purposes.

The remaining allegations in Paragraph 61 contain legal conjecture and hypothetical speculation.

Because they contain no factual allegations, no response is required.

       62. Denies.

       63. JELD-WEN admits that interior molded door skins display various patterns, and that

inexpensive flat door skins do exist. JELD-WEN is without information sufficient to form a

belief as to the truth of the remaining allegations contained in Paragraph 63 and, on that basis,

denies them.



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       64. Paragraph 64 asserts legal conclusions that do not require a response. To the extent

that a response is required, JELD-WEN denies the allegations contained in Paragraph 64.

       65. JELD-WEN admits that many interior molded door skins that are purchased by U.S.

manufacturers are produced in the United States. The remainder of Paragraph 65 asserts a legal

conclusion that does not require a response. To the extent that a response is required, JELD-

WEN denies that allegation contained in Paragraph 65.

       66. JELD-WEN admits that interior molded door skins manufactured outside of the

United States are used in the United States. JELD-WEN denies the remaining allegations

contained in Paragraph 66.

       67. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 67 and, on that basis, denies them.

       68. Denies.

       69. Denies.

       70. Denies.

       71. Paragraph 71 asserts legal conclusions that do not require a response. To the extent

that a response is required, JELD-WEN denies the allegations contained in Paragraph 71.

       72. Paragraph 72 asserts legal conclusions that do not require a response. To the extent

that a response is required, JELD-WEN denies the allegations contained in Paragraph 72. JELD-

WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 72 and, on that basis, denies them.

       73. Denies.




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       74. JELD-WEN admits that prior to 2012, Masonite, JELD-WEN and CraftMaster,

among others, supplied interior molded door skins in the United States. JELD-WEN denies the

remaining allegations contained in Paragraph 74.

       75. JELD-WEN admits that following the 2012 merger, Masonite and JELD-WEN both

sold interior door skins, and that at some point, Masonite announced that it would no longer sell

door skins to “competition.” JELD-WEN is without information sufficient to form a belief as to

the truth of the remaining allegations contained in Paragraph 75 and, on that basis, denies them.

       76. The assertion in Paragraph 76 that the sale of door skins constitutes a “market” is a

legal conclusion as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “door skins” constitute a relevant market for antitrust purposes.

JELD-WEN is without information sufficient to form a belief as to the truth of the remaining

allegations contained in Paragraph 76 and, on that basis, denies them.

       77. JELD-WEN admits that prior to 2012, Masonite, JELD-WEN, CraftMaster, Steves,

Haley Brothers, and Lynden sold interior molded doors. JELD-WEN denies the remaining

allegations contained in Paragraph 77.

       78. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 78 and, on that basis, denies them.

       79. The assertion in Paragraph 79 that the sale of doors constitutes a “market” is a legal

conclusion as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “doors” constitute a relevant market for antitrust purposes.

JELD-WEN is without information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 79 and, on that basis, denies them.

       80. Denies.



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       81. Denies.

       82.

                                                  . The remaining allegations in Paragraph 82

assert legal conclusions that do not require a response. To the extent that a response is required,

JELD-WEN denies those allegations.

       83. Denies.

       84. Denies.

       85. JELD-WEN admits that it has informed Steves that it will ship door skins only to the

locations set forth in the Supply Agreement.

       86. JELD-WEN denies the allegations in the first sentence of Paragraph 86. The

assertion in Paragraph 86 that the sale of doors constitutes a “market” is a legal conclusion as to

which no response is required. However, to the extent that a response is required, JELD-WEN

denies that “doors” constitute a relevant market for antitrust purposes. JELD-WEN is without

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 86 and, on that basis, denies them.

       87. Admits.

       88. JELD-WEN admits that it notified Steves and others that it is discontinuing a

prefinished white product line, and informed them that they could continue to purchase that line

as long as inventory was available.

       89. JELD-WEN makes all of its pricing decisions unilaterally. Accordingly, JELD-

WEN is without information sufficient to form a belief as to the truth of the allegations contained

in Paragraph 89 and, on that basis, denies them. JELD-WEN does admit, however, that due in

large part to the housing crisis, prices for interior molded doors decreased or remained flat for



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several years, and that, therefore, JELD-WEN’s announced price increase in June 2014 was

likely one of the largest price increases since the housing market collapsed. JELD-WEN denies

that it was able to realize the full amount of that announced price increase.

       90. JELD-WEN admits that Paragraph 90 contains a chart which Steves purports shows

JELD-WEN’s and Masonite’s announced price increases for interior molded doors since the

2012 merger, and that Steves asserts that the chart is based on announcements attached to the

Complaint.     JELD-WEN denies that interior molded door prices actually increased by the

announced amounts.

       91.     Paragraph 91 is improper because it relates to an inadmissible communication

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       92. Denies.

       93. JELD-WEN admits that Paragraph 93 purports to quote from a Department of Justice

complaint, a written document the contents of which speak for themselves. To the extent

Paragraph 93 characterizes or contradicts the contents of that complaint, JELD-WEN denies

those allegations.

       94. Denies.

       95. JELD-WEN admits that Paragraph 95 purports to quote from a June 25, 2014

Masonite presentation to industry analysts.       To the extent Paragraph 95 characterizes or

contradicts the contents of the statements made in that presentation, JELD-WEN denies those

allegations.

       96. Denies.




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       97. JELD-WEN admits that Paragraph 97 purports to quote from a JELD-WEN letter to

Steves, a written document the contents of which speak for themselves. To the extent Paragraph

97 characterizes or contradicts the contents of that letter, JELD-WEN denies those allegations.

       98. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 98 and, on that basis, denies them.

       99. JELD-WEN admits the allegation in the first sentence of Paragraph 99. JELD-WEN

denies the remaining allegations contained in Paragraph 99.

       100. Denies.

       101. Denies.

       102. Denies.

       103. Denies.

       104. JELD-WEN admits that Paragraph 104 purports to quote from a June 22, 2016

analyst report, a written document the contents of which speak for themselves. To the extent

Paragraph 104 characterizes or contradicts the contents of that analyst report, JELD-WEN denies

those allegations.

       105. Denies.

       106. Denies.

       107. JELD-WEN admits that Paragraph 107 purports to quote from a Masonite investor

presentation, the contents of which speak for themselves.         To the extent Paragraph 107

characterizes or contradicts the contents of statements made in that presentation, JELD-WEN

denies those allegations. JELD-WEN denies the remaining allegations contained in Paragraph

107.




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       108. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 108 and, on that basis, denies them.

       109. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 109 and, on that basis, denies them.

       110. The assertion in Paragraph 110 that the sale of doors constitutes a “market” is a

legal conclusion as to which no response is required. However, to the extent that a response is

required, JELD-WEN denies that “doors” constitute a relevant market for antitrust purposes.

JELD-WEN is without information sufficient to form a belief as to the truth of the allegations

contained in Paragraph 110 and, on that basis, denies them.

       111. Paragraph 111 contains legal conjecture and hypothetical speculation. Because it

contains no factual allegations, no response is required.

       112. JELD-WEN admits that Paragraph 112 purports to quote from a JELD-WEN filing

with the United States Securities and Exchange Commission, a written document the contents of

which speak for themselves. To the extent Paragraph 112 characterizes or contradicts the

contents of that filing, JELD-WEN denies those allegations.

       113. JELD-WEN admits that Paragraph 113 purports to quote from a Masonite filing

with the United States Securities and Exchange Commission, a written document the contents of

which speak for themselves. To the extent Paragraph 113 characterizes or contradicts the

contents of that filing, JELD-WEN denies those allegations.

       114. JELD-WEN admits that it has patents on certain of its door skin products. JELD-

WEN is without information sufficient to form a belief as to the truth of the allegations contained

in Paragraph 114 concerning Masonite and, on that basis, denies them. JELD-WEN denies the

remaining allegations contained in Paragraph 114.



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       115. JELD-WEN admits that Paragraph 115 purports to quote from various third-party

reports and studies, written documents the contents of which speak for themselves. To the extent

Paragraph 115 characterizes or contradicts the contents of those reports and studies, JELD-WEN

denies those allegations.

       116. Paragraph 116 contains hypothetical speculation. Because it contains no factual

allegations, no response is required.

       117. Denies.

       118.    JELD-WEN admits that Paragraph 118 purports to quote from the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 118 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       119. Paragraph 119 asserts a legal conclusion that does not require a response.

       120. Denies.

       121. Admits.

       122. JELD-WEN denies that of the tens of millions of door skins it has shipped to Steves

since 2012, “substantial amounts” of them are defective.       JELD-WEN admits that on the

occasions

                   . Paragraph 122 asserts legal conclusions that do not require a response. To

the extent a response is required, JELD-WEN denies those allegations. JELD-WEN denies the

remaining allegations contained in Paragraph 122.

       123. JELD-WEN admits that on the occasions in which it has provided Steves with

refunds, it has refunded Steves the amounts it actually paid JELD-WEN. JELD-WEN denies

that Steves has been damaged.



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       124. JELD-WEN admits that in certain but not all instances,




                                                                                             .

JELD-WEN admits that at times in the past it has been delayed in making certain inspections of

products at Steves’ facilities, but denies that Steves has incurred damages as a result.

       125. Denies.

       126. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegation in Paragraph 126 and, on that basis, denies it.

       127. Denies.

       128. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 128 and, on that basis, denies them.

       129. JELD-WEN is without information sufficient to form a belief as to the truth of the

allegations contained in Paragraph 129 and, on that basis, denies them.

       130. Denies.

       131. Denies.

       132. JELD-WEN admits that in those instances where Steves was shipped a defective

door skin, JELD-WEN has reimbursed Steves for the cost of that defective door skin. JELD-

WEN denies the remaining allegations contained in Paragraph 132.

       133. JELD-WEN admits that Paragraph 133 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 133 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.



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       134. JELD-WEN admits that Paragraph 134 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 134 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       135. JELD-WEN admits that Paragraph 135 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 135 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       136. JELD-WEN admits that Paragraph 136 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 136 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       137. JELD-WEN admits that Paragraph 137 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 137 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       138. JELD-WEN admits that Paragraph 138 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 138 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       139. JELD-WEN admits that Steves asserts that



      . JELD-WEN denies the remaining allegation contained in Paragraph 139.



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       140. JELD-WEN admits that Steves asserts that in November 2013, it was notified that

prices would be reduced.      JELD-WEN admits that Paragraph 140 purports to describe a

spreadsheet JELD-WEN provided to Steves, a written document the contents of which speak for

themselves.   To the extent Paragraph 140 characterizes or contradicts the contents of that

spreadsheet, JELD-WEN denies those allegations. JELD-WEN denies the remaining allegations

contained in Paragraph 140.

       141. Denies.

       142. Paragraph 142 is improper because it relates to an inadmissible communication

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       143.   Paragraph 143 is improper because it relates to inadmissible communications

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       144.   Paragraph 144 is improper because it relates to inadmissible communications

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       145.   Paragraph 145 is improper because it relates to inadmissible communications

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       146.   Paragraph 146 is improper because it relates to inadmissible communications

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.




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       147.   Paragraph 147 is improper because it relates to inadmissible communications

between JELD-WEN and Steves made in connection with attempting to resolve their commercial

disputes. Accordingly, no response is required.

       148. Denies.

       149. Denies.

       150. JELD-WEN admits that it has not sought to raise prices to Steves in 2016. JELD-

WEN denies the remaining allegations contained in Paragraph 150.

       151. JELD-WEN denies that                                                                 .

JELD-WEN denies the remaining allegations contained in Paragraph 151.

       152. JELD-WEN denies that it breached the Supply Agreement. The assertion in

Paragraph 152 that the sale of door skins constitutes a “market” is a legal conclusion as to which

no response is required. However, to the extent that a response is required, JELD-WEN denies

that “door skins” constitute a relevant market for antitrust purposes. JELD-WEN denies the

remaining allegations contained in Paragraph 152.

       153. Admits.

       154. Denies.

       155. Admits.

       156.   JELD-WEN admits that Paragraph 156 purports to quote from the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 156 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations. Paragraph 156 also asserts legal conclusions that do not require a

response. To the extent that response is required, JELD-WEN denies the allegations contained in

Paragraph 156.



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       157. JELD-WEN admits that Paragraph 157 purports to quote from

                           , a written document the contents of which speak for themselves. To

the extent Paragraph 157 characterizes or contradicts the contents of that          , JELD-WEN

denies those allegations. Paragraph 157 also asserts legal conclusions that do not require a

response. To the extent that a response is required, JELD-WEN denies the allegations contained

in Paragraph 157.

       158. Denies.

       159. JELD-WEN admits that on or about April 21, 2014, it met with Steves to discuss

commercial disputes that had arisen between the parties. JELD-WEN admits that Paragraph 159

purports to quote from an April 22, 2014 letter from JELD-WEN to Steves, a written document

the contents of which speak for themselves. To the extent Paragraph 159 characterizes or

contradicts the contents of that letter, JELD-WEN denies those allegations.

       160. JELD-WEN admits that Paragraph 160 purports to quote from a Masonite investor

presentation and a letter from JELD-WEN to Steves, written documents the contents of which

speak for themselves. To the extent Paragraph 160 characterizes or contradicts the contents of

those documents, JELD-WEN denies those allegations.

       161. JELD-WEN admits that it met with Steves in August 2014. JELD-WEN admits

that at that meeting there was a discussion about a potential new contract between the parties,

and in connection with that subject, the parties had discussions concerning a capital charge.

       162. Paragraph 162 contains legal conjecture and hypothetical speculation. Because it

contains no factual allegations, no response is required.

       163. JELD-WEN admits that at various points in time it has had discussions with Steves

concerning the terms of the Supply Agreement, and that during some of those discussions each



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party has suggested clarifications to the Supply Agreement. JELD-WEN denies the remaining

allegations contained in Paragraph 163.

       164. JELD-WEN admits that on or about May 15, 2015, during a confidential settlement

negotiation and in accordance with the terms of the Supply Agreement, it supplied Steves with

JELD-WEN’s new standard terms and conditions. The terms and conditions make clear that in

the event they conflict in any way with the Supply Agreement, the Supply Agreement controls.

JELD-WEN denies the remaining allegations contained in Paragraph 164.

       165. Admits.

       166. JELD-WEN admits that Paragraph 166 purports to compare portions of the Supply

Agreement with certain “terms and conditions,” written documents the contents of which speak

for themselves. To the extent Paragraph 166 characterizes or contradicts those documents,

JELD-WEN denies those allegations. Paragraph 166 also asserts legal conclusions that do not

require a response.

       167. JELD-WEN admits that Paragraph 167 purports to quote from a July 30, 2015 letter

from Steves to JELD-WEN, a written document the contents of which speak for themselves. To

the extent Paragraph 167 characterizes or contradicts the contents of that letter, JELD-WEN

denies those allegations.

       168.    JELD-WEN admits that Paragraph 168 purports to quote from the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 168 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations. Paragraph 168 also asserts legal conclusions that do not require a

response. To the extent that a response is required, JELD-WEN denies the allegations contained

in Paragraph 168.



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       169. JELD-WEN admits that it offers the Monroe door skin design for sale to customers.

JELD-WEN admits that it has informed Steves that the Monroe design is not covered by the

Supply Agreement. JELD-WEN denies the remaining allegations contained in Paragraph 169.

       170. JELD-WEN denies that any term of the Supply Agreement covers pricing for the

Monroe door skin. Paragraph 170 asserts legal conclusions that do not require a response. To

the extent a response is required, JELD-WEN denies those allegations.

       171. Denies.

       172. Denies.

       173. JELD-WEN admits that Paragraph 173 purports to describe the terms of the Supply

Agreement, a written document the contents of which speak for themselves. To the extent

Paragraph 173 characterizes or contradicts the contents of that Supply Agreement, JELD-WEN

denies those allegations.

       174. JELD-WEN admits that the parties have held at least two internal conferences and

an unsuccessful mediation.

       175. JELD-WEN reasserts and incorporates by reference its foregoing responses.

       176. Denies.

       177. Denies.

       178. Denies.

       179. JELD-WEN reasserts and incorporates by reference its foregoing responses.

       180. Paragraph 180 asserts legal conclusions that do not require a response.

       181. Denies.

       182. Denies.

       183. JELD-WEN reasserts and incorporates by reference its foregoing responses.



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       184. Paragraph 184 asserts legal conclusions that do not require a response.

       185. Denies.

       186. Denies.

       187. Denies.

       188. JELD-WEN reasserts and incorporates by reference its foregoing responses.

       189. JELD-WEN admits that Steves asserts that there is an actual controversy between

the parties concerning the effective termination date of the Supply Agreement, and that

Paragraph 189 purports to present the parties’ respective positions on the issue. Paragraph 189

also asserts legal conclusions that do not require a response.

       190. JELD-WEN admits that Paragraph 190 purports to present Steves’ contentions

regarding the termination provision of the Supply Agreement. JELD-WEN denies the remaining

allegations contained in Paragraph 190.

       191. Paragraph 191 asserts legal conclusions that do not require a response.

       192. Denies.

       193. JELD-WEN reasserts and incorporates by reference its foregoing responses.

       194. Paragraph 194 asserts legal conclusions that do not require a response.

       195. Denies.

       196. Denies.

       197. Paragraph 197 asserts a legal conclusion that does not require a response. To the

extent a response is required, JELD-WEN denies the allegations in Paragraph 197.

       198. Paragraph 198 asserts a legal conclusion that does not require a response. To the

extent a response is required, JELD-WEN denies the allegations in Paragraph 198.

       199. Denies.



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        200. Denies.

        201. JELD-WEN reasserts and incorporates by reference its foregoing responses.

        202. Denies.

        203. Denies.

        204. Denies.

        205. Denies.

        206. Denies.

        Steves’ Prayer for Relief contains no factual allegations and, therefore, does not require a

response. To the extent that a response is required, JELD-WEN denies that Steves is entitled to

any relief.

                                       GENERAL DENIAL

        JELD-WEN denies every allegation of the Complaint not expressly admitted in this

Answer.

                                  AFFIRMATIVE DEFENSES

        JELD-WEN expressly reserves the right to plead additional affirmative and other

defenses should discovery reveal any such defenses in this case.

        JELD-WEN asserts the following defenses without assuming the burden of proof as to

any issue that would otherwise rest upon Steves.

                               FIRST AFFIRMATIVE DEFENSE

                                      (Statute of Limitations)

        Steves’ claims are barred, in whole or in part, by the applicable statute(s) of limitations.




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                             SECOND AFFIRMATIVE DEFENSE

                                         (Unclean Hands)

         Steves’ claims are barred in whole or in part because of Steves’ conduct and unclean

hands.

                              THIRD AFFIRMATIVE DEFENSE

                                        (Terms of Contract)

         Steves’ claims are barred in whole or in part because the conduct alleged adheres to the

terms of the parties’ contract.

                             FOURTH AFFIRMATIVE DEFENSE

                                         (Lawful Conduct)

         Steves’ claims are barred in whole or in part because the claims are based on lawful

conduct.

                                  FIFTH AFFIRMATIVE DEFENSE

                                           (Good Faith)

         Steves’ claims are barred in whole or in part because the claims are based on conduct

undertaken in good faith.

                                  SIXTH AFFIRMATIVE DEFENSE

                                  (Waiver, Estoppel and/or Laches)

         Steves’ claims are barred, in whole or in part, by the doctrine of waiver, good faith,

estoppel, and/or laches.




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                             SEVENTH AFFIRMATIVE DEFENSE

                                        (Mitigation of Risk)

        Steves’ claims are barred in whole or in part by Steves’ failure to take adequate measures

to mitigate damages.

                              EIGHTH AFFIRMATIVE DEFENSE

                   (Course of Performance, Couse of Dealing, Usage of Trade)

        Steves’ claims are barred in whole or in part by the doctrines of course of performance,

course of dealing, and usage of trade. Additionally, Steves failed to reject the alleged defective

door skins and, having “accepted” the door skins, failed timely to give notice of the defects. Del.

Code Ann. tit. 6, §§ 2-602, 2-605-607, 2-714.

                               JELD-WEN’S COUNTERCLAIMS

        Jurisdiction and Venue

        1.       This Court has subject matter jurisdiction over the federal Defend Trade Secrets

Act claim pursuant to 18 U.S.C. § 1836(c) and 28 U.S.C. § 1331.

        2.       This Court has subject matter jurisdiction over the state law claims pursuant to 28

U.S.C. § 1332(a) because the amount in controversy on each such claim exceeds $75,000.00,

exclusive of interest and costs, and the parties are citizens of different states. This Court also has

jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367.

        3.       This Court has personal jurisdiction over Steves, and venue in this Court is

proper, because Steves owns a plant in Henrico County, Virginia and regularly transacts business

in this judicial district.




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       Steves’ Misappropriation Of JELD-WEN Trade Secrets And Confidential
       Information Through John Pierce

       4.     John Pierce (“Pierce”) is a former Senior Executive Vice President of

defendant/counter-claimant JELD-WEN. Pierce worked for JELD-WEN from June 4, 1979 until

June 29, 2012. In his role as Senior Executive Vice President, Pierce oversaw JELD-WEN’s

entire molded door skins operations.

       5.     On January 1, 1988, Pierce and JELD-WEN entered into a Management

Employment Contract (“1988 Pierce Employment Contract”).            Section 10 of the 1988

Employment Contract acknowledges that Pierce would be exposed to “matters of confidence

relating to manufacturing processes, costs, customer information and pricing, JELD-WEN

policies and procedures and financial data,” which “JELD-WEN regards [as] confidential and in

many cases as trade secrets.” By signing the contract, Pierce agreed that, both during his

employment and after leaving JELD-WEN’s employ, he would treat the information as

confidential and not discuss or disclose the information to any outside party under any

circumstances whatsoever.

       6.     On January 27, 2006, Pierce and JELD-WEN entered into a second Management

Employment Contract (“2006 Pierce Employment Contract”). Section 9(A) of the 2006 Pierce

Employment Contract acknowledges that Pierce would be exposed to “confidential matters,

including without limitation, matters relating to cost data, formulas, patterns, compilations,

programs, devices, methods, techniques, processes, manufacturing processes, business strategy

and plans, customer information, pricing, JELD-WEN policies and procedures and other

financial data.” As Section 9(A) of the 2006 Pierce Employment Contract further explains,

“JELD-WEN regards all such information as confidential and in many cases as trade secrets,”




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and with his signature Pierce agreed that “the unauthorized disclosure or release of such

information in any form would irreparably harm JELD-WEN.”

       7.     By signing the 2006 Pierce Employment Contract, Pierce agreed to keep all such

information confidential during his employment and, should his employment with JELD-WEN

end, “continue in perpetuity or for the longest duration allowed by law to treat such information

as strictly confidential and as trade secrets and not discuss or disclose any such information to

any outside party under any circumstances whatsoever, except as required by law.”

       8.     During Pierce’s employment at JELD-WEN, Steves purchased door skins from

JELD-WEN. At various times during his employment, Pierce worked directly with Steves CEO

Edward Steves and with other Steves employees regarding these purchases.

       9.     Pierce retired from JELD-WEN on June 29, 2012. At the time of his retirement,

the 2006 Pierce Employment Contract governed his employment and survived his retirement to

the extent stated in its terms. The 2006 Pierce Employment Contract expressly provided that

Pierce’s duty to protect the confidentiality of JELD-WEN material continued after he left JELD-

WEN “in perpetuity or for the longest duration allowed by law.”

       10.     On or before February 26, 2015, Steves contacted Pierce, with knowledge of

Pierce’s former position at JELD-WEN, and entered into an agreement with Pierce pursuant to

which Pierce would by surreptitious means acquire JELD-WEN trade secrets and other

confidential information relating to JELD-WEN’s door and door skin businesses and deliver that

information to Steves. Steves and Pierce signed a Mutual Confidentiality and Non-Disclosure

Agreement on March 15, 2015.

       11.    Steves’ objective in entering into its agreement with Pierce was to obtain JELD-

WEN trade secrets and confidential information to assess its ability to enter the door skin



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business in direct competition with JELD-WEN by potentially constructing and operating its

own door skin facility.

       12.      Steves agreed to pay Pierce at the rate of $800 per day, plus travel expenses, to

travel to JELD-WEN facilities and to communicate with JELD-WEN employees for the purpose

of eliciting confidential information about JELD-WEN operations and passing that information

to Steves. Pursuant to that agreement, Pierce traveled to several JELD-WEN door skin plants

and obtained trade secret and other confidential information from JELD-WEN employees.

Pierce communicated the purloined information to Steves. Steves paid Pierce for his theft of

JELD-WEN trade secrets and confidential information in accordance with their agreement.

       13.      Steves compensated Pierce for multiple discussions with employees of JELD-

WEN’s Klamath Falls facility, a visit with an employee of JELD-WEN’s coatings division in

Seattle, and travel to JELD-WEN’s Louisiana plant, to collect trade secrets and confidential

information from JELD-WEN. During the course of his efforts, Pierce communicated directly

by email with Steves’ senior management to report on the status of his efforts to steal

confidential information. Pierce acknowledged that he sold to Steves confidential financial

information, and confidential information about primer costs, JELD-WEN’s future plans for a

primer facility in Towanda, and manufacturing process and plans for a new door adhesive, that

Pierce learned through those trips.

       14.      Steves purchased at least the following trade secrets and confidential information

from Pierce:

             a. Information regarding JELD-WEN’s manufacturing processes, methods and
                techniques, including the placement and installation of dies used to manufacture
                door skins, and for applying resin and primer to door skins;

             b. Information and financial data regarding JELD-WEN’s manufacture of primer
                used for door skins, including the ingredients of the primer and the costs to
                manufacture such primer;
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                c. Information regarding strategy and plans for making future improvements to
                   JELD-WEN door skin plants;

                d. Information regarding JELD-WEN’s research and development plans and
                   strategies related to its manufacturing processes, including making door adhesive;

                e. Information regarding JELD-WEN’s processes, strategies and plans for making
                   product improvements;

                f. Information regarding confidential challenges and risks JELD-WEN faced,
                   processes, methods and techniques JELD-WEN had tried but had determined
                   were not viable; and

                g. Additional confidential JELD-WEN financial data, including information about
                   input suppliers and input costs for the manufacture of door skins.

          15.      As to each category of information described above in Paragraph 14, Pierce’s

transmission of JELD-WEN trade secret or confidential information to Steves is documented in

an email communication.

          16.      JELD-WEN considers information concerning its manufacturing processes,

methods and techniques, its materials and input costs, the details of its supply contracts, its

research and development efforts, its financial performance data, and its business strategies to be

trade secrets, since they derive independent economic value from not being generally known to,

and not being readily ascertainable through proper means, by another person who can obtain

economic value from the disclosure or use of the information.             This includes information

regarding business process, methods and techniques that JELD-WEN has determined are not

viable.    JELD-WEN rigorously protects the confidentiality of this information and derives

economic benefit from that confidentiality because it allows JELD-WEN to compete in the

manufacture of door skins and doors, and gives JELD-WEN a competitive advantage by not

being generally known.

          17.      At all relevant times, JELD-WEN took reasonable steps to keep these categories

of information secret. Among other things, JELD-WEN protected and continues to protect this

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information by limiting its dissemination to certain employees, prohibiting non-employees from

entering JELD-WEN door skin plants, requiring employees to sign non-disclosure agreements,

and providing ongoing education designed to reinforce the importance of protecting the

confidentiality of proprietary information.

       18.     The 2006 Pierce Employment Agreement explicitly barred Pierce from disclosing

the categories of information described above in Paragraphs 14 and 16 to outsiders, including

Steves. Much of the confidential information misappropriated by Steves through its arrangement

with Pierce is JELD-WEN trade secrets.

       19.     The Steves brothers and Pierce discussed that Steves was buying confidential

JELD-WEN information from Pierce. On March 12, 2015, Pierce suggested to Edward and Sam

Steves II that they keep Pierce’s upcoming visit to Steves headquarters in San Antonio, Texas

confidential. Pierce explained that “[i]n the last three days I’ve spent a lot of time talking to my

former plant managers, and a couple other folks at JELD-WEN” because he sought to “have the

most current information for you.” During the visit, Pierce planned to share “confidential

information about finances” that he had learned from current JELD-WEN employees. Pierce

worried that “[i]f they were to find our [sic] that I am then working to help Steves Doors, they

might not want to share anything with me in the future.” Id. Edward Steves agreed to “keep the

visit on the QT.” See STEVES-000056766-68, attached as Ex. 1. On information and belief,

Pierce met with the Steves brothers in San Antonio on March 16, 2015.

       20.     In an April 7, 2015 email, Pierce acknowledged to Edward and Sam Steves II that

their company was purchasing confidential JELD-WEN information, and made reference to the

violation of his non-disclosure agreement with JELD-WEN. Pierce proposed that he and the

Steves brothers “talk[]…some more about the chance that JW might try to make trouble for us if



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they find out I’m assisting you. What trouble could they make under the guise of non-disclosure

rather than rather than non-compete?” He suggested that Steves “speak with [its] attorney about

that.” STEVES-000053666, attached as Ex. 2.

       21.     Pierce stated in a separate April 7, 2015, email to Edward and Sam Steves that the

“financial information” and information about non-stick coating applied to dies for door skins

that he had supplied to Steves were JELD-WEN trade secrets. He proposed destroying or

altering their communications to reduce the risk that JELD-WEN could file suit against him and

Steves for misappropriating trade secrets. He proposed that they “[d]elete from all of our email

servers, programs, and folders all copies of every email and document we have exchanged to this

point, including every copy that is in the “SENT” email folder.” Pierce also offered to “re-

compose all of the information that [he had] sent to [Steves] to remove indications that any of it

is verified current information.” Pierce commented that, if the conspiracy between him and the

Steves came to light during the discovery process in any subsequent litigation, it “might cause us

trouble.” As he explained “[t]hese ways, perhaps we could comply with any such [discovery]

request with reasonable documents that might not be incriminating to anyone. This way also,

you can still have the data and information for your reference—and still comply with the

discovery order.” Pierce went on to say that “[w]e can’t unring a bell, but perhaps we can

replace the bell with one that’s more attractive to Steves Doors, and less attractive to JW.”

STEVES-000051327, attached as Ex. 3.

       22.     Pierce took actions to hide communications with Steves’ principals that almost

certainly contained details of his wrongful conduct. JELD-WEN issued a subpoena to Pierce in

connection with this civil action on January 12, 2017. In a written response to the subpoena,




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Pierce stated that he had deleted or destroyed all communications with Steves, and all documents

and information that he provided to Steves, save one document.

       23.    In addition to Pierce’s destruction of documents, Steves and Pierce took other

steps to prevent the discovery of their arrangement, and of the activities conducted pursuant to

their arrangement, by JELD-WEN. Pierce and Steves explicitly agreed to keep their meetings

secret so that Pierce could continue to procure “confidential information” from current JELD-

WEN employees. Edward Steves and Pierce also sought to keep their communications secret by

communicating through text messages. STEVES-000051425, attached as Ex. 4. Additionally,

and possibly in direct response to Pierce’s April 7, 2015 email, Edward Steves requested that

Pierce communicate with him and Sam Steves II only by telephone. Further, in November 2015,

Edward Steves and Pierce discussed paying for at least some of Pierce’s work in cash, as

opposed to check.

       Additional Misappropriation Of JELD-WEN Trade Secrets And Confidential
       Information

       24.    John Ambruz is a former Executive Vice President of Corporate Development for

defendant/counter-claimant JELD-WEN. Ambruz worked for JELD-WEN from April 16, 2012,

until March 12, 2014.

       25.    On April 18, 2012, Ambruz and JELD-WEN entered into a Management

Employment Contract (“Ambruz Employment Contract”).              Section 8(A) of the Ambruz

Employment Contract acknowledges that Ambruz would be exposed to “confidential matters,

including without limitation, matters relating to cost data, formulas, patterns, compilations,

programs, devices, methods, techniques, processes, manufacturing processes, business strategy

and plans, customer information, pricing, JELD-WEN policies and procedures and other

financial data.” As Section 8(A) of the Ambruz Employment Contract further explains, “JELD-


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WEN regards all such information as confidential and in many cases as trade secrets,” and with

his signature Ambruz agreed that “the unauthorized disclosure or release of such information in

any form would irreparably harm JELD-WEN.”

       26.     By signing the Employment Contract, Ambruz agreed to keep all such

information confidential during his employment and, should his employment with JELD-WEN

end, “continue in perpetuity or for the longest duration allowed by law to treat such information

as strictly confidential and as trade secrets and not discuss or disclose any such information to

any outside party under any circumstances whatsoever, except as required by law.”

       27.     After the termination of his employment with JELD-WEN, on April 21, 2014,

Ambruz signed a declaration certifying that he had returned and delivered to JELD-WEN all

materials embodying any confidential information. In this declaration, Ambruz specifically

declared that he had destroyed any confidential information found on his personal computer by

non-recoverable data erasure of computerized data, and he acknowledged his ongoing duty to

maintain as confidential any confidential information he acquired during his employment.

       28.     Additionally, on February 3, 2015, Ambruz signed a Severance Agreement with

JELD-WEN confirming that “the provisions of your Management Employment Agreement

regarding Intellectual Property, Confidentiality and Proprietary Information remain in full effect

and are incorporated herein. You acknowledge that you will keep confidential all proprietary

and/or confidential information obtained by you during the course of your employment

(including but not limited to, as set forth in the Management Employment Agreement that you

may have previously entered into with the Company, e.g., the section addressing Confidentiality

and Trade Secrets), and that you have continuing obligations to the Company to do so. You




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hereby acknowledge and expressly reaffirm these obligations in exchange for the consideration

provided to you under this Agreement.” (“Ambruz Severance Agreement”)

       29.     Following his departure from JELD-WEN, Ambruz started a consulting firm

called Global Strategic Partners (“GSP”). At the time of GSP’s formation, and at all times

following his departure from JELD-WEN, Ambruz has remained under a continuing duty to

protect JELD-WEN’s trade secrets and confidential information as provided for in the Ambruz

Employment Contract and Ambruz Severance Agreement.

       30.     Steves retained Ambruz, through GSP, as a consultant on or around July 8, 2015.

Steves admits that it retained Ambruz to help it evaluate the feasibility, logistics and economics

of financing and developing its own molded door skin plant.

       31.     On information and belief, Steves provided to Ambruz confidential JELD-WEN

information that JELD-WEN had provided to Steves pursuant to the confidentiality provisions of

the parties’ 2012 Supply Agreement.

       32.     During Ambruz’s tenure at JELD-WEN, the Antitrust Division of the Department

of Justice conducted an investigation into JELD-WEN’s potential acquisition of CraftMaster,

Inc.   Ambruz, who was a JELD-WEN employee in 2012, was copied on a JELD-WEN

confidential communication to the Antitrust Division enclosing a report entitled “Proposal for

Expansion of Molded Skin Production Capacity Submitted by John Pierce, 1 May 2006” because

he was assisting O’Melveny & Myers, JELD-WEN’s lawyers at the time, in responding to the

Antitrust Division’s investigation.     That report included JELD-WEN trade secrets and

confidential information about its manufacturing capacity and processes for door skins

       33.     On July 20, 2016, Sam Steves II’s assistant, Leticia Villareal, sent a copy of that

report to Ambruz. The copy of the report sent by Villareal, on behalf of Sam Steves II, to



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Ambruz included marginal handwritten questions regarding information in the report. Steves

had no proper or legal means by which to obtain a copy of the JELD-WEN report, and on

information and belief, the report was delivered to Steves by Ambruz.

       34.     Given the steps taken by Steves, Pierce and Ambruz to conceal the

misappropriation of JELD-WEN trade secrets and confidential information and the admitted

destruction of evidence by Pierce, it is likely that Steves misappropriated through Pierce,

Ambruz, and potentially other sources, additional JELD-WEN trade secrets and confidential

information that are not evidenced in the currently available documents, but that may come to

light in discovery. By virtue of the loss of at least some probative evidence, JELD-WEN may

never know the full extent of the trade secrets and other confidential information that Steves

stole from JELD-WEN.

       JELD-WEN’s Discovery Of Steves’ Misappropriation Of JELD-WEN’s Trade
       Secrets And Confidential Information

       35.     JELD-WEN’s outside counsel in this civil action, Latham & Watkins, LLP,

discovered the first evidence of Steves’ misappropriation on or about January 4, 2017, while

reviewing documents that Steves produced in response to three sets of document requests that

JELD-WEN had served upon Steves.

       36.     Upon the discovery of the facts detailed above, JELD-WEN immediately

demanded that Steves cease and desist from making any use of the confidential JELD-WEN

information that Pierce had sold to Steves.

       37.     In response to JELD-WEN’s demand, Steves did not deny that it had purchased

JELD-WEN trade secrets and confidential information. Steves did not agree to cease and desist

from using the stolen information, including use of the information in this civil action against

JELD-WEN.


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       38.     JELD-WEN could not have discovered the misappropriation of its trade secrets

and confidential information by Steves any earlier through the exercise of reasonable diligence

because Steves, Pierce and Ambruz successfully concealed Steves’ misappropriation of JELD-

WEN’s trade secrets and confidential information.

       39.     On information and belief, Steves has planned to use, and will continue to use,

JELD-WEN’s trade secrets and confidential information to assess whether it is feasible for the

company to develop a door skin manufacturing operation in direct competition with JELD-WEN.

The information stolen from JELD-WEN provides Steves a roadmap to develop a door skin

manufacturing operation. Steves either has used or may use this information to develop such an

operation, and/or to determine whether it wants to make the investment necessary to build a door

skin plant itself, or partner with another firm to do so.

       40.     On information and belief, Steves has used, and will continue to use, JELD-

WEN’s own trade secrets and confidential information, which it illegally misappropriated from

JELD-WEN, in the prosecution of this civil action against JELD-WEN.

                           FIRST COUNTERCLAIM FOR RELIEF

                 (Violation of the Defend Trade Secrets Act, 18 U.S.C. § 1836)

       41.     JELD-WEN realleges and incorporates by reference each and every allegation

contained in paragraphs 1-40 as if such allegation were fully set forth herein.

       42.     The Defend Trade Secrets Act of 2016 (“DTSA”), 18 U.S.C. §1836(b) provides a

private civil action for any owner of a trade secret that is misappropriated if the trade secret is

related to a product or service used in, or intended for use in, interstate or foreign commerce.

Steves violated the Defend Trade Secrets Act by misappropriating JELD-WEN’s trade secrets.




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       43.     JELD-WEN sells door skins, doors and other products in interstate commerce

across the United States.

       44.     JELD-WEN is the “owner” of the trade secrets misappropriated by Steves

because JELD-WEN has rightful legal or equitable title to, or license in, the trade secrets. 18

U.S.C. §1839(4).

       45.     The information that Steves misappropriated constitutes “trade secrets” under the

DTSA because they are “financial, business, scientific, technical, economic, or engineering

information, including patterns, plans, compilations, program devices, formulas, designs,

prototypes, methods, techniques, processes, procedures, programs, or codes.” The information

that Steves stole “derives independent economic value, actual or potential, from not being

generally known to, and not being readily ascertainable through proper means by, another person

who can obtain economic value from the disclosure or use of the information.” 18 U.S.C.

§1839(3).

       46.     The information misappropriated by Steves was at all times the subject of

reasonable efforts by JELD-WEN to maintain its secrecy. 18 U.S.C. §1839(3).

       47.     Steves “misappropriated” JELD-WEN’s information because Steves knew or had

reason to know that the suppliers of that information acquired the trade secrets through improper

means. Steves also used JELD-WEN’s trade secrets without JELD-WEN’s express or implied

consent when at the time of the use Steves used improper means to acquire knowledge of the

trade secrets, and knew or had reason to know that its knowledge of the trade secrets derived

from or through a person who used improper means to acquire the trade secrets, and owed a duty

to JELD-WEN to maintain the secrecy of the trade secrets or limit the use of the trade secrets.

18 U.S.C. §1839(5). The “improper means” of acquiring the trade secrets included, but is not



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limited to, “breach or inducement of a breach of a duty to maintain secrecy.” 18 U.S.C.

§1839(6).

           48.   As a direct result of Steves’ misappropriation of JELD-WEN’s trade secrets,

JELD-WEN has been damaged in an amount to be determined at trial.

                          SECOND COUNTERCLAIM FOR RELIEF

             (Conspiracy to Violate Defend Trade Secrets Act, 18 U.S.C. § 1832(a)(5))

           49.   JELD-WEN realleges and incorporates by references each and every allegation

contained in paragraphs 1-48 as if such allegations were fully set forth herein.

           50.   Steves combined and conspired with Pierce or Ambruz, or both, in violation of 18

U.S.C. §1832(a)(5) to commit the offense set forth in the First Counterclaim for relief.

           51.   Steves, Pierce and Ambruz, individually performed the acts fully described above

to effect the object of their conspiracy.

           52.   As a direct and proximate result of actions taken by Steves and its co-conspirators

to achieve the object of their conspiracy, JELD-WEN has suffered injury and has been damaged

in an amount to be determined at trial.

                           THIRD COUNTERCLAIM FOR RELIEF

 (Violation of the Texas Uniform Trade Secret Act, Texas Civil Practice & Remedies Code
                            Annotated §§134A.001 – 134A.008)

           53.   JELD-WEN realleges and incorporates by reference each and every allegation

contained in paragraphs 1-52 as if such allegations were fully set forth herein.

           54.   Steves violated the Texas Uniform Trade Secret Act, Texas Civil Practice &

Remedies Code Annotated §§ 134A.001-134A.008, by misappropriating JELD-WEN’s trade

secrets.




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       55.     The information and financial data that Steves misappropriated are “trade secrets”

under Texas law because (1) JELD-WEN took reasonable efforts under the circumstances to

maintain the secrecy of the information; and (2) the information that Steves stole “derives

independent economic value, actual or potential, from not being generally known to the public,

and not readily ascertainable by proper means by other persons who can obtain economic value

from its disclosure or use.” TEX. CIV. PRAC. & REM. CODE ANN. § 134A.002(6).

       56.     Steves “misappropriated” the information because Steves knew or had reason to

know that the trade secrets were acquired by improper means. Steves also used JELD-WEN’s

trade secrets without JELD-WEN’s express or implied consent. Finally, Steves knew or had

reason to know that its knowledge of the trade secrets was derived from or through a person who

used improper means to acquire the trade secrets and owed a duty to JELD-WEN to maintain the

secrecy of the trade secret or limit the use of the trade secrets. TEX. CIV. PRAC. & REM. CODE

ANN. §§ 134A.002(3). The “improper means” of acquiring the trade secrets included, but is not

limited to, “breach or inducement of a breach of a duty to maintain secrecy.” TEX. CIV. PRAC. &

REM. CODE ANN. §§ 134A.002(2).

       57.     As a direct result of Steves’ misappropriation of JELD-WEN’s trade secrets,

JELD-WEN has been damaged in an amount to be determined at trial.

                         FOURTH COUNTERCLAIM FOR RELIEF

             (Tortious Interference with Contract Under Texas Common Law)

       58.     JELD-WEN realleges and incorporates by reference each and every allegation

contained in paragraphs 1-57 as if such allegations were fully set forth herein.

       59.     Steves unlawfully and tortiously interfered with JELD-WEN’s 2006 Pierce

Employment Contract.



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       60.      Steves engaged in willful and intentional acts of interference with the 2006 Pierce

Employment Contract by knowingly inducing and paying Pierce to violate the sections of that

contract that forbade him from divulging JELD-WEN’s trade secrets and confidential

information.

       61.      Pursuant to his arrangements with Steves, Pierce breached the obligations of

confidentiality imposed on him by the 2006 Pierce Employment Contract.

       62.      These willful and intentional acts of interference by Steves induced Pierce to

breach his contractual obligations to JELD-WEN and proximately caused injury to JELD-WEN

by providing trade secrets and confidential information to Steves.

       63.      JELD-WEN has suffered actual damages or loss resulting from Steves’ tortious

acts in an amount to be determined at trial.

                           FIFTH COUNTERCLAIM FOR RELIEF

               (Tortious Interference with Contract Under Texas Common Law)

       64.      JELD-WEN realleges and incorporates by references each and every allegation

contained in paragraphs 1-63 as if such allegations were fully set forth herein.

       65.      Steves unlawfully and tortiously interfered with JELD-WEN’s Ambruz

Employment Contract and Ambruz Severance Agreement.

       66.      Steves engaged in willful and intentional acts of interference with those contracts

by knowingly inducing and paying Ambruz to violate the sections of those contracts that forbade

Ambruz from divulging JELD-WEN’s trade secrets and confidential information.

       67.      Pursuant to his arrangements with Steves, Ambruz breached the obligations of

confidentiality imposed on him by the Ambruz Employment Contract and the Ambruz Severance

Agreement.



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       68.     These willful and intentional acts of interference by Steves induced Ambruz to

breach his contractual obligations to JELD-WEN, and proximately caused injury to JELD-WEN

by providing trade secrets and confidential information to Steves.

       69.     JELD-WEN has suffered actual damages or loss resulting from Steves’ tortious

act in an amount to be determined at trial.

                           SIXTH COUNTERCLAIM FOR RELIEF

  (Breach of the Implied Covenant of Good Faith and Fair Dealing Under Delaware Law)

       70.     JELD-WEN realleges and incorporates by reference each and every allegation

contained in paragraphs 1-69 as if such allegations were fully set forth herein.

       71.     On May 1, 2012, Steves and JELD-WEN entered into a Supply Agreement

whereby Steves agreed

                                              . The contract provides that it should be interpreted

under the laws of Delaware.

       72.     A covenant of good faith and fair dealing is implied in every contract under

Delaware law. A party is liable for breaching the covenant when its conduct frustrates the

overarching purpose of the contract.

       73.     Steves’ theft and misappropriation of JELD-WEN’s trade secrets and confidential

information violated the covenant of good faith and fair dealing implied by Delaware law in the

2012 Supply Agreement.         By unlawfully stealing JELD-WEN’s confidential and secret

information in order to develop its own interior molded door skin manufacturing capability,

Steves unreasonably deprived JELD-WEN of its expectation under the contract that Steves

would purchase “                                                      ” from JELD-WEN for the

duration of the contract. Steves’ theft and misappropriation allowed it to determine the designs



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of door skins that it should purchase from foreign manufacturers versus the designs that it should

attempt to manufacture itself or continue purchasing from JELD-WEN.                Steves therefore

unreasonably deprived JELD-WEN of its expectation that Steves would

                                                                      .

         74.    JELD-WEN has been damaged by that violation in an amount to be determined at

trial.

                        SEVENTH COUNTERCLAIM FOR RELIEF

                                       (Breach of Contract)

         75.   JELD-WEN realleges and incorporates by reference each and every allegation

contained in paragraphs 1-74 as if such allegations were fully set forth herein.

         76.   The terms of the 2012 Supply Agreement prohibit Steves from disclosing JELD-

WEN’s commercially sensitive information without the prior and express approval of JELD-

WEN.

         77.   Steves breached the confidentiality provision of the 2012 Supply Agreement by

providing JELD-WEN’s commercially sensitive information to Ambruz without JELD-WEN’s

prior and express approval. This violation is a breach of the 2012 Supply Agreement pursuant to

Paragraph 3(a)(1) of that Agreement.

         78.   JELD-WEN has been injured as a proximate result of Steves’ breach of the 2012

Supply Agreement and has suffered damages in an amount to be determined at trial.

                                    PRAYER FOR RELIEF

         Wherefore, Defendant/Counter-Claimant JELD-WEN requests that the Court grant it the

following relief:




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        1.     A declaration that Steves’ theft and misappropriation of JELD-WEN’s trade

secrets violate the Defend Trade Secrets Act, the Texas Uniform Trade Secrets Act, and Texas

tort law;

        2.     A declaration that Steves’ violation of the covenant of good faith and fair dealing

implied in 2012 Supply Agreement breached the 2012 Supply Agreement pursuant to Paragraph

3(a)(1) of that Agreement;

        3.     A declaration that Steves’ breach of the confidentiality provision contained in

Paragraph 22 of the 2012 Supply Agreement breached that agreement pursuant to Paragraph

3(a)(1);

        4.     An order striking any pleadings made in Steves’ Complaint that are based on

trade secrets and confidential information stolen and misappropriated from JELD-WEN,

including Steves’ claim for damages from its alleged inability to build a door skin plant and

inability to obtain door skins from others;

        5.     With regard to the First, Second and Third Counterclaims for Relief, that it award

damages for JELD-WEN’s actual loss caused by Steves’ misappropriation of JELD-WEN’s

trade secrets, and damages for Steves’ unjust enrichment caused by its misappropriation of

JELD-WEN’s trade secrets that are not addressed in computing damages for actual loss, in an

amount to be determined at trial;

        6.     In the alternative, with regard to the First, Second and Third Counterclaims for

Relief, that the Court award damages in an amount of a reasonable royalty for Steves’ past use of

JELD-WEN’s misappropriated trade secrets, in an amount to be determined at trial;




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       7.      With regard to the First, Second and Third Counterclaims for Relief, that the

Court award exemplary damages two times the amount of damages awarded for Steves’

misappropriation of JELD-WEN’s trade secrets;

       8.      With regard to the First, Second and Third Counterclaims for Relief, that the

Court enter an order (1) enjoining Steves and its agents from acquiring any additional JELD-

WEN trade secrets and confidential information from any source; (2) enjoining Steves and its

agents from using in any manner, including in the prosecution of the action against JELD-WEN,

any JELD-WEN trade secrets acquired from any source; (3) requiring Steves and its agents to

conduct and complete a thorough search of all records in its possession, custody or control,

wherever located and including all locations where electronic information is stored by it or on its

behalf, and identify all documents or information containing or reflecting JELD-WEN’s trade

secrets and confidential information acquired from any source, and deliver to JELD-WEN a copy

of each document located as a result of the search, along with a written certification given under

oath stating that the materials delivered to JELD-WEN constitute a true and complete copy of the

entire set of documents identified as a result of the search and/or that all additional copies of

such materials that are not delivered to JELD-WEN have been destroyed; and (4) placing Steves

and its agents under a continuing obligation, should they locate any JELD-WEN trade secrets, to

identify such information, promptly deliver a copy to JELD-WEN, and to certify destruction of

all copies of records containing such information;

       9.      In the alternative, with regard to the First, Second and Third Counterclaims for

Relief, to the extent that this Court determines that a prohibitory injunction against future use of

JELD-WEN’s trade secrets by Steves is inequitable or impracticable, that the Court enter an




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injunction conditioning any future use of the trade secrets by Steves on the payment of a

reasonable royalty to JELD-WEN;

          10.    With regard to the Fourth and Fifth Counterclaims for Relief, that the Court award

actual damages resulting from Steves’ tortious interference with the employment contracts in an

amount to be determined at trial;

          11.    With regard to the Fourth and Fifth Counterclaims for Relief, that the Court award

exemplary damages two times the amount of damages awarded for Steves’ tortious interference

with the employment contracts, or $200,000, whichever is greater;

          12.    With regard to the Sixth Counterclaim for Relief, that the Court award actual

damages resulting from Steves’ violation of the implied covenant of good faith and fair dealing

present in the 2012 Supply Agreement;

          13.    With regard to the Seventh Counterclaim for Relief, that the Court award actual

damages resulting from Steves’ violation of the confidentiality provision present in the 2012

Supply Agreement;

          14.    That the Court award JELD-WEN’s reasonable attorneys’ fees and costs for the

prosecution of the counterclaims and for defense of the lawsuit brought by Steves;

          15.    That the Court award pre-judgment and post-judgment interest;

          16.    That the Court award any other and further relief as the Court may deem just and

proper.

                                 DEMAND FOR A JURY TRIAL

          JELD-WEN demands a trial by jury for all issues triable by a jury.




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Dated: May 22, 2017                Respectfully submitted,

                                   JELD-WEN, Inc.

                                   By counsel


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 22nd day of May, 2017, counsel of record have been served by

electronic mail with a true and correct copy of the foregoing, including:

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